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Exhibit C
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|, Daniel E. Becnel, Jr., was born on June 14, 1944. My father, Daniel Elmore Becne!, was an
attorney until his death in 1965. He spent most of his career in the military and was a War Crimes
Prosecutor after World War Il. After his military career ended, he became a Louisiana State Legislator until
his death in 1965. My mother is a registered nurse. | have been married twice, first to Deonne Du Barry,
and second to Mary Hctard Becnel, presently a State District Judge for the 40th Judicial District Court in
Louisiana and a candidate for the Louisiana State Supreme Court. My brother and his wife are both
attorneys in my firm, as is my son. Ten years ago when my brother was dying, | donated a kidney to him
which enabled him to return to a normal life.

| attended Louisiana State University and received a Bachelor of Science degree in 1966. In 1969,
| earned my Law Degree from Loyola University in New Orleans, Louisiana. | have been admitted to
practice in Louisiana and Colorado, and have been a member in good standing since my admissions.
Offices | have held and organizations | have belonged to in my career include the following:

1) Chief Investigator, 29th Judicial District (District Attorney's Office) 1969-1970.

2) Ponchartrain Levee District Attorney, 1970-1974.

3) Member in good standing of the American Bar Association, Louisiana Trial Lawyers

Association, 40th Judicial District Bar Association (1969 to present), 29th Judicial District
Bar Asscciation, and the American Trial Lawyers Association (1969 to present).
4) Elected Democratic State Central Committee, 26 years.

5) Admitted to the United States Supreme Court, 1973.

8) Temporarily adimiited to the State Bar in Florida, tne State Bar in Wyoming, the District
Court of the District of Columbia, and the Superior Court of New Jersey, Bergen County.

| tried the first million dollar verdict in the United States for a single individual in 1972. Paulette
Trosclair v. Melton Truck Lines, et al.

Among the cases in which | have been court-appointed as a plaintiffs’ attorney to represent classes
of litigants are the following:

The Luling Ferry Disaster, involving the death of 78 people, which was ultimately tried and/or settled
before U.S. District Judge Alvin Rubin (deceased) in excess of twenty nine million dollars.

| was court-appointed in MDL 330 Swine Flu immunization Products Liability Litigation to represent
all the plaintiffs (approximately 4,000) across the United States in reference to the Swine Flu Inoculation
Program. These cases were tried and handled in Washington, D.C. before U. S. District Judge Gearhart
Gisel (deceased), with settlements and/or verdicts in excess of five hundred million dollars.

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| have been involved in a number of air crash disasters in both Louisiana and Colorado.

| was appointed to the Plaintiffs' Legal Committee by U. S. District Judge Henry Mentz in reference
to Watson v. Shell Oil Company, which concerned a refinery explosion of May 5, 1988, and involved
approximately 18,000 claims. This case was ultimately settled for more than two hundred million dollars.

| was appcinted Lead Counsel in reference to Deion McGee, et al v. Shell Oil Company, et al,
involving 5,000 people. The class was certified by Judge Joei T. Chaisson and affirmed by the Fifth Circuit
Court of Appeals and the Louisiana State Supreme Court.

| was appointed to the Plaintiffs’ Legal Committee as lead counsel by Judge Joel Chaisson in Gail
Clement v. Occidental Chemical Company, a class action involving approximately 10,000 people. | recently
settled this case for thirteen million dollars, and my office handled all claim forms, depositions and
settlement for over 8,000 pecple.

| was appointed to the Plaintiffs' Legal Committees by both U. S. District Judge Parker and U. S.
District Judge Polozola in reference to two separate explosions at the Exxon Refinery in Baton Rouge,
Louisiana. These cases involved more than 9,000 people each.

| was appointed lead counsel in the Dupont Chemical Company Explosion, which involves
approximately 1,200 people in Reserve, Louisiana.

| was appointed lead counsel and tried to a successful verdict after four weeks the United Gas
Pipeline Case. This case involved the rupture and/or explosion of a gas pipeline on three separate
occasions. Approximately 18,000 people were involved in this litigation. The sample case was ultimately
settled, after trial, for more than one and a half million dollars. The class cases were tried, ane to a jury
verdict and one before a District Judge, resulting in a punitive damage award of double the amount of
compensatory damages. This was the first class action punitive damage award in Louisiana.

| recently settled a train derailment case which occurred in Eunice, Louisiana for $65 million.

In reference to MDL 926 In re Breast Implant Products Liability Litigation, my office supplied forty-
three attorneys, full time, for over two years to the document depository in Cincinnati, Ohio. In addition,
| supervised approximately thirty lawyers who were supplied by Wendell Gauthier, John Cummings, Calvin
Fayard and Hugh Sibley. | personally took numerous depositions in this litigation, including the CEO of
Dow Corning Corporation and Dr. Georgiade, the inventor of the MEC breast implant devices (a Bristol-
Myers defendant). At the request of MDL Judge Pointer | loaned four of my attorneys, full time, to handle
the incoming calls of unrepresented women who needed questions answered in reference to the Breast
{mplant Litigation {it should be noted that this resulted in only a ten thousand dollar profit to my firm). |
personally spent, on the common effort, in excess of four million dollars.

In addition, my office provided thirteen lawyers, full time, to a computer center in Louisiana which
allowed me to represent women in the Breast Implant Case who could not find attorneys willing to handle
their cases. Under MDL Judge Pointer's direction, these women were represented on a per hour basis and
not on a percentage. My staff and { handled approximately six hundred of these cases.

| regularly try at least five or six major jury trials per year and work seven days a week, ten to
fourteen hours per day.

My firm does a great deal of indigent defender work on criminal cases where we are paid less than
$10 per hour. Within the past few months, this work has included two murder trials.

My office provides free office space to a legal aid service to help indigents with civil cases.

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During the ABA Convention in New Orleans, at the request of the State Department and the ABA,
my wife and | hosted Supreme Court Justices from Estonia, Romania, Lithuania, Slovakia and Albania for
a week-long stay at our residence. These Justices were here to learn how U.S. State and Federal Courts
function as an example of how they may adopt democratic reform in their court system.

My office was involved in the Penile |mplant Case and negotiated a grid settlement with Bristol-
Myers before that case was even presented for a MDL argument.

As one of the founding members of Dianne Castano, etal v. The American Tobacco Company, et
al, a class action suit against the tobacco industry, my office represented Governor Gray Davis and the
State of California in the states’ settlement with the tobacco industry. My office also did extensive work in
cases against the tobacco industry that were pending in New York and Pennsylvania. At the present time,
| have three lawyers assigned full time to the Louisiana class action titled Scott v. The American Tobacco
Company, a certified class action for medical monitoring and cessation assistance in the State of Louisiana
before Judge Ganucheau, Orleans Parish. Jury selection began on June 18, 2001.

| have been one of the lead attorneys in the case of Barbara A. Brown, etal v. Acromed, etal, Civil
Action No. 94-1236, Section |, United States District Court, Eastern District of Louisiana and in fact, |
argued the Pedicle Screw case before the MDL panei in Colorado Springs, Colorado on July 22, 1994.
Moreover, | supplied seven lawyers full time to MDL 1014 Orthopedic Bone Screw Products Liability
Litigation before U.S. District Judge Louis Bechtle.

My office represents thousands of women in the Norplant Case and has the only remanded case
before a State Court Judge at this time. That case was remanded from the Federal Court to the State
Court by U.S. District Judge Thomas Porteous on December 29, 1994, and is now pending before State
District Judge Richard Ganucheau. | am a member of the Plaintiffs’ Steering Committee.

| was appointed to the Nationai Plaintiffs’ Steering Committee in MDL 1038 Norplant Contraceptive
Products Liability Litigation by Judge Richard A. Schell, and the National MDL depository is located at my
office complex in Louisiana, under my direction.

| was appointed to the National Plaintiffs’ Steering Committee in MDL 1057 Telectronics Pacing
Systems, Inc., Accufix "J" Leads Products Liability Litigation, by U.S. District Judge S. Arthur Spiegel. This
case was certified as a national class action on April 2, 1997.

| was appointed by U.S. District Judge Eldon Fallon to be Lead Counsel in the case of Yvette
Cooper v. Koch Pipeline, Inc., which is a class action involving a release of ammonia invelving over 10,000
people. This case was remanded to State Court and uitimately settled.

| spoke before the International Symposium on Product Liability and Failure Prevention in Japan
at the request of forty-five Japanese Corporations and all Mechanical Engineers in Japan.

| spoke in Vienna, Austria at the SPT-5 Conference in reference to the Shell Explosion Case. This
involved Engineers from ail over the world who convene an International Symposium every three years.

| was appointed to the Plaintiffs’ Legal Committee by District Judge Patricia Hedges in reference
to the In re Chemical Release at Bogalusa. | have been working virtually full time securing experts, filing
pleadings and working on the jurisdictional problems. | directed, along with Ronnie Penton and others, the
inspection of the failed tank car. | have also done research in reference to medical monitoring. This case
was tried for three and a half months and a jury found all parties liable, and included a $92 million punitive
damage award to the class. In addition, settlements with other defendants were reached in the amount
of approximately $150 million.

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| was the lead attorney in the case of Katharine Christiano, et al v. Napp Technologies, Inc. in
Bergen County, New Jersey. That case has settled.

My office is involved in the litigation titled In the Matter of the Complaint of Clearsky Shipping Corp.
as Owner, and Cosco (H.K.} Shipping Company Limited, as Manager of the M/V_ Bright Field, for

Exoneration From and/or Limitation of Liability pending before U. S. District Judge Morey L. Sear (current
member of the MDL Panel). My office is one of ten firms that is handling the litigation in this maritime
disaster.

| was appointed by U.S. District Judge John Parker to the Claimants’ Steering Committee in the
litigation titled In the Matter of the Complaint of Ingram Barge Company, as Owner of the M/V F.R. Bigelow
and the 1B-960, and Ingram Ohio Barge Co., as Owner Pro Hac Vice of the Ing-371, Petitioning for
Exoneration From or Limitation of Liability. This case settled for forty one million seven hundred and fifty
thousand dollars in 1999 (my office handled claims for over 17,000 people in this toxic tort maritime
disaster),

| was appointed to the Plaintiffs’ Legal Committee and the Executive Committee in reference to MDL
1148 In re Latex Gloves Products Liability Litigation, by U. S. District Judge Edmund V. Ludwig.

| was appointed to the Plaintiffs’ Steering Committee in the case of Jimmie Badon, Jr., et al v. DSI
Transports, Inc., etal, 19" Judicial District Court, Number 450,957. This case settled for nine million seven
hundred and fifty thousand dollars (my office handled all Proof of Claim forms for 2,300 people in this
tractor trailer tanker chemical release).

| was appointed to the Plaintiffs’ Steering Committee in the case involving the Kaiser explosion of
July 5, 1999 titled Carl Bell, et al v. Kaiser Aluminum and Chemical Corporation, 23" Judicial District Court,
No. 25,975. This case settled for twenty six and a half miltion dollars, plus eleven million dollars for the
inside-the-gate cases. My office handled all Proof of Claims, as well as over two hundred depositions in
this litigation.

| was appointed by U.S. District Judge Louis Bechtle (a member of the MDL Panel}, as
State/Federal Liaison to the national class action in MDL 1203 In re Diet Drug
(Phentermine/Fenfluramine/Dexfenfluramine) Product Liability Litigation. My office has personally settled
hundreds of individual cases.

| was appointed by U_S. District Judge Eldon Fallon to the Plaintiffs’ Steering Committee and
Executive Committee in MDL 1355 Propulsid Products Liability Litigation. My office has provided office
space for the document depository which is also managed by my computer specialist.

! was appointed by U.S. District Judge Mary Ann _emmon to serve as Liaison Counsel in the case
of Aline Ricks, et al v. American Home Products, et al (PPA Litigation, MDL 1407). | argued this case
before the MDL Panel on July 26, 2001 in Chicago.

| was appointed by U.S. District Judge Edith Brown Clement to serve on the Interim Plaintiffs’
Steering Committee in the case titled Alicia Tanquis, et al v. M/V Westchester, et al, Eastern District of
Louisiana, Case No. 01/0449 c/w 01-1558.

The Plaintiffs’ Steering Committee in MDL 1373 Bridgestone/Firestone, Inc. ATX, ATX II and
Wilderness Tires Products Liability Litigation has requested that ! secure all experts and become a member
of the Discovery Committee and the Trial Committee. My office coordinated with U.S. Congressman
Tauzin, Chairman of the Commerce Committee, regarding the current ongoing investigation involving tire
failures and/or rollovers. | have been to Washington on two occasions te provide all information
concerning these failures to Mark R. Paoietta, Chief Counsel! for Oversight and Investigations. Ron Motley,
Richard Arsenault and.| attended the hearings in Washington to assist the Committee in its investigation.

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| was appointed by U.S. District Judge Kathleen McDonald O’Mally to serve as Class Counsel in
MDL 1401 Sulzer Inter-Op Hip Prosthesis Products Liability Litigation (a class settlement in the amount of
over one billion dollars has been reached).

| was appointed by U.S. District Judge Michael J. Davis to the Plaintiffs’ Steering Committee in MDL
1431 In Re Baycol Products Liability Litigation.

| recently argued for MDL status in both MDL 1477 In Re Serzone Products Liability Litigation and
MDL 1481 In Re Meridia Products Liability Litigation.

| was appointed by U.S. District Judge Joseph R. Goodwin to serve on the Executive Committee
and the Plaintiffs’ Steering Committee in MDL 1477 In Re Serzone Products Liability Litigation.

| was appointed by U.S. District Judge James S. Gwin to serve on the Executive Committee the
Plaintiffs’ Steering Committee in MDL 1481 In Re Meridia Products Liability Litigation.

| was appointed by U.S. District Judge Kathleen McDonald O'Malley to serve on the Plaintiffs’
Executive Committee in MDL 1535 In Re Welding Rod Products Liability Ligiation.

On September 30, 2004 | argued before the Judicial Panel of Multidistrict Litigation for MDL status
in both MDL No. 1628 In Re Neurontin Marketing and Sales Practices Litigation and MDL No. 1632 In Re

High Sulfur Content Gasoline Products Liability Litigation.

My office has 15 attorneys, 2 nurses, 3 computer specialists and over 20 secretaries, paralegals
and administrative personnel. My employees include African-Americans, Hispanics and numerous female
attorneys.

Enclosed herein is an article from Town & Country Magazine, an independent source, concerning
my reputation as a trial lawyer.

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TO

DANIEL E. BECNEL, JR.
La. Bar No. 2926

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GENERAL
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ouia Nizer, libel lawyer par excel-
lence, said it best: “The differ-
ence between an office lawyer
and a trial lawyer ie as great aa
between an internist and a sur-
geon. Both require high talents,
but the specialized akilla and
tools are ao different that they

Sune, 1985

By Stephanie Bernardo dohns

may as well be in different professions.”

A good triai lawyer ia by nature a show-
man and by experience adept at playing
straight into the hearts of the jury. No mat-
ter how he sounds, like a scap box preacher
or a trained orator, his verbal abilities will
be finely honed. Above ail, he wili be able to
convince those twelve important men and
women of the logic of hia arguments. A
good trial lawyer need not be a celebrity.
But dramatic attorneys in highly publicized
cases have managed to make a name for
themselves. Clarence Darrow made hia
name by defending John T. Scopes in the
famous “monkey” evolution trial. Melvin
Belli earned his reputation defending the
glitterati of Hollywood, as well aa some of

America's most famous criminais, such as
Jack Ruby, the assasain of alleged presiden-
tial asaassin, Lee Harvey Oswald.

Whether you choose a celebrity trial law-
yer or a highly recommended unknown,
don't bank on reputation alone. Take the
time to observe him in the courtroom. Haa
he done his homework; does he sound pre-
pared? Are his arguments logical, convine-
ing? Doea he have the self-confidence and
aura of a “winner’'? What is his track record
in cases similar to yours? Once you have all
the facts about the lawyer you intend to
hire, sit back and ask yourself that all-im-
portant question: would you be willing to
bet your reputation, your assets or your

-freedom on his ability?

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TAX
LAWYERS

@ he Internal Revenue Code is the

' longest law in the worid,” says
Jonathan Blattmachr of Milbank,
Tweed, Hadley & McCloy. ‘The
code is so complex, that there are
few individuals who can function
as peneral tax lawyers—special-
ization is a necessity.”

At Blattmachr’s firm, as at other large
law firms, there are tax lawyers who spe-
cialize in a particular area or even a sub-area
of the IRS code, such as business taxation,
partnerships, real estate, tax shelters, chari-
ties or estates and trusts. A tax lawyer can
help an individual with strategies to avoid
taxation, for himself or his business, or he
can do battle with the IRS, if a tax problem
already exists.

Each year millions of taxpayers are audit-
ed by the IRS. Should that happen to you,
and should you be asked to pay taxes that

you believe are unjustified, you can file an
appeal with the IRS. [f you believe that the
IRS will not honor your appeal, you may
have to fight it out in court. There are three
courts where IRS battles are fought: U.S.
Tax Court, district court, and the U.S. Court
of Claims. The U.S. Tax Court is the only
arena where you will be able to contest a tax
dispute without first paying the disputed
amount in fuil, and it is the only court where
an attorney is not necessary. A taxpayer
may represent himself, provided that the
sum in question is $5,000 or less.

If you intend to fight the IRS in district
court or the U.S, Court of Claims, you will
need a good tax attorney—one who is famil-
iar with the specific area of the IRS code
that is germane to your problem.

All of the tax attorneys who go to court
end up battling the same opponent, the In-
ternal Revenue Service. Hence most of the
attorneys in this field do not meet and test
one another as combatants ir the same way
that, say, torts lawyers do. “Because of the
nature of their work, the most important
quality to look for in a tax attorney is the
ability to communicate,’ says Robert A.
Watson of Fort Worth. ‘He has to be good
with people.”

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